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                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                       ) CASE NO. 17-CR-387-CRB
                                                     )
14           Plaintiff,                              ) UNITED STATES’ SUPPLEMENTAL
                                                     ) SENTENCING MEMORANDUM
15      v.                                           )
                                                     )
16   AMER SINAN ALHAGGAGI,                           )
                                                     )
17           Defendant.                              )
                                                     )
18

19           On December 17, 2018, a sentencing hearing was held in the above-referenced matter. During
20 the hearing, the Court posed several questions regarding the applicability of the 12-level terrorism

21 enhancement under U.S.S.G. § 3A.14. Specifically, the questions the Court asked the following

22 questions:

23      (1) U.S.S.G. § 3A1.4 contains two prongs, one for cases where the offense was “calculated to
            influence or affect the conduct of government by intimidation or coercion,” the second for cases
24          where the offense was “calculated… to retaliate against government conduct.” Does the second
            prong apply to this case? (Transcript, Dec. 17. 2018, at pg. 4, lines 11-24).
25
        (2) U.S.S.G. § 3A1.4 requires that in “each case, the defendant’s criminal history category… shall
26          be Category VI.” Why is Category VI automatically applied, how does that fit with the
            framework of what a criminal history category is supposed to do, and can that be the basis for a
27          departure? (Transcript, Dec. 17, 2018, at pg. 199, lines 3-8).
28
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 1      (3) To the extent that there are any cases where defendants engaged in conduct similar to the
            conduct at issue here, was the terrorism enhancement applied, and what kinds of sentences did
 2          courts impose in those cases? (Transcript, Dec. 17, 2018, at pgs. 199-202).

 3 As requested by the Court, the government addresses each of these three questions below. In addition,

 4 the government asks the Court to disregard the report and testimony of Dr. Marc Sageman as inherently

 5 untrustworthy.

 6      1. The “Retaliation” Prong Of The Terrorism Enhancement Applies To This Case

 7          The 12-level enhancement set forth in U.S.S.G. § 3A1.4 applies if the offense at issue involved

 8 or was intended to promote a “federal crime of terrorism.” As the Court correctly explained during the

 9 December 17 hearing, a “federal crime of terrorism” is an offense that is either 1) “calculated to
10 influence or affect the conduct of government by intimidation or coercion; or 2) “calculated… to

11 retaliate against government conduct.” 18 U.S.C. § 2332b(g)(5)(A).1 During the December 17 hearing,

12 the Court indicated that it wanted further briefing on the second prong, i.e., the retaliation prong. For

13 the reasons discussed below, this second prong is plainly applicable to this case.2

14          At the outset, it is important to understand what Section 2332b’s “retaliation” prong requires of

15 the government, and what it does not require. Specifically, the “retaliation” prong does not require the

16 government to prove that the defendant was motivated to engage in the offense to retaliate against the

17 government. Rather, the critical inquiry is whether the offense itself was calculated to retaliate against

18 government conduct, regardless of the defendant’s particular motive. The seminal case rejecting this

19 “motivational” reading of Section 2332b was the Second Circuit’s decision in United States v. Awan,

20 607 F.3d 306 (2d. Cir.), cert. denied, 562 U.S. 1170 (2011)(finding error and vacating sentence where

21 district court required government to prove defendant’s motive for providing material support to

22
            1
              In addition, the offense must be one that is specifically enumerated in 18 U.S.C.
23 § 2332b(g)(5)(B). It is undisputed that the defendant here pled guilty to one of those specifically
   enumerated statutes, 18 U.S.C. § 2339B (attempting to provide material support to a designated foreign
24 terrorist organization, to wit, the Islamic State of Iraq and the Levant, or ISIL). Moreover, the Court did
   not ask for further briefing on this issue. Accordingly, the government does not address it here.
25          2
              By making this argument, the government by no means waives or concedes any argument that
26 the first prong, the “intimidation or coercion” prong, also applies. To the contrary, the government
   maintains that both prongs apply. Nonetheless, this Court asked for briefing only on the second prong.
27 Accordingly, the government does not repeat its “intimidation or coercion” argument here, and relies on
   those arguments set forth in its initial sentencing memorandum. See Gov’t. Sentencing Memorandum,
28 Docket No. 90, at pgs. 52-56.
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 1 terrorists). The government relied on Awan in its argument in its initial sentencing memorandum, but

 2 focused mainly Awan’s relevance to the “intimidation or coercion” prong. Gov’t. Sentencing

 3 Memorandum, Docket No. 90, at pgs. 52-56. However, in light of this Court’s questions during the

 4 December 17 hearing, the government stresses that Awan is equally applicable to both the “intimidation

 5 or coercion” prong and the “retaliation” prong. Awan, 607 F.3d at 317 (reasoning that whatever the

 6 defendant’s motive might have been, the terrorism enhancement applied “so long as the government

 7 shows by a preponderance of the evidence that [the defendant] had the specific intent to commit an

 8 offense that was calculated to influence or affect the conduct of government by intimidation or coercion,

 9 or to retaliate against government conduct,” and concluding that “[c]ontrary to the district court’s
10 analysis, [the defendant’s] motive is simply not relevant”)(internal citations and quotations

11 removed)(emphasis added). Numerous district courts both in the Second Circuit and elsewhere have

12 relied on the reasoning in Awan to apply the terrorism enhancement.3

13          As far as retaliation goes, the mere act of opening social media and email accounts may at first

14 blush seem innocuous, but is in fact integral to the process by which ISIL spreads its message, recruits

15 adherents, and trains or directs attackers.4 In other words, the defendant was not just opening any social

16 media and email accounts. He was opening accounts for people whom he believed, and who actually

17 were, members of ISIL. It is inconceivable that he could have engaged in this conduct without

18 calculating that his actions would help ISIL retaliate against (or for that matter, intimidate or coerce) the

19 many governments ISIL identified as its enemies. After all, retaliating against government conduct was

20 one of the primary means that ISIL used to first vault itself into prominence on the world stage.5 The

21
         3
           See, e.g., United States v. Elshinawy, 2018 WL 1521876 at *11 (D.Md. 2018); United States v.
22 Muhtorov, 329 F.Supp.3d 1289 (D.Colo. 2018).
            4
23             Dr. Lorenzo Vidino, director of the Project on Extremism at George Washington University,
     described the use of social media by ISIS adherents in the United States:
24           American ISIS sympathizers are particularly active on Twitter, where they spasmodically create
     accounts that often get suspended in a never-ending cat-and-mouse game. Some accounts (the “nodes”)
25   are the generators of primary content, some (the “amplifiers”) just retweet material, others (the “shout-
     outs”) promote newly created accounts of suspended users.
26
             ISIS in America: From Retweets to Raqqa, December 2015 at ix. Available at
27   https://cchs.gwu.edu/sites/g/files/zaxdzs2371/f/downloads/ISIS%20in%20America%20-
     %20Full%20Report_0.pdf. (Last accessed February 4, 2019).
28           5
               See, e.g., Translation of speech by ISIL leader Abu Bakr al Baghdadi, July 1, 2014: “So raise
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 1 Court will recall that in August of 2014, then-President Obama ordered air strikes against ISIL targets

 2 across northern Iraq, in response to reported acts of genocide committed by ISIL members against

 3 religious minorities in Iraq’s Sinjar province. At that time, most Americans had not heard of ISIL. That

 4 would soon change. In direct retaliation for those air strikes, on August 18, 2014, ISIL members

 5 brutally beheaded an American freelance journalist, James Foley, and recorded the murder on video.

 6 Entitled “A Message to America,” the video depicted Foley kneeling in an orange jumpsuit at the feet of

 7 a masked ISIL fighter6, who then pulled out a knife and said in perfect English with a British accent that

 8 Foley’s execution was in retaliation for the recent U.S. airstrikes. After beheading Foley, the video

 9 showed another American journalist, Steven Sotloff, also kneeling in an orange jumpsuit. The man with
10 the knife explained, “the life of this American citizen, Obama, depends on your next decision.” See

11 “Militant Group Says it Killed American Journalist in Syria,” by Rukmini Callimachi, New York Times,

12 August 19, 2014 (last accessed February 2, 2019, at https://www.nytimes.com/

13 2014/08/20/world/middleeast/isis-james-foley-syria-execution.html). The chilling video was posted by

14 ISIL members on social media websites, including YouTube.7 According to the SITE Intelligence

15 Group, an American company that tracks online activity of jihadist and other hate groups, in the three

16 hours after the graphic video was uploaded, there were over 2,000 posts on Twitter from ISIL jihadists

17

18 your ambitions, O soldiers of the Islamic State! For your brothers all over the world are waiting for your
   rescue, and are anticipating your brigades. It is enough for you to just look at the scenes that have
19 reached you from Central Africa, and from Burma before that. What is hidden from us is far worse. So
   by Allah, we will take revenge! By Allah, we will take revenge! Even if it takes a while, we will take
20 revenge… So let the world know that we are living today in a new era. Whoever was heedless must now
   be alert. Whoever was sleeping must now awaken. Whoever was shocked and amazed must
21 comprehend. The Muslims today have a loud, thundering statement, and possess heavy boots. They have
   a statement that will cause the world to hear and understand the meaning of terrorism, and boots that
22 will trample the idol of nationalism, destroy the idol of democracy and uncover its deviant nature.”
   Available at https://news.siteintelgroup.com/Jihadist-News/islamic-state-leader-abu-bakr-al-baghdadi-
23 encourages-emigration-worldwide-action.html. (Last accessed February 2, 2019)(emphasis added).
           6
             The ISIL fighter would later be identified as Mohammed Emwazi, and became known in the
24 press as “Jihadi John.” He was killed in a joint U.S./U.K. air strike in November of 2015. “Jihadi John:
   “US Reasonably Certain Strike Killed IS Militant,” November 13, 2015, available at
25 https://www.bbc.com/news/uk-34805924 (last accessed on February 2, 2019).
           7
26           The use of YouTube by ISIL is particularly relevant. When the defendant here opened Gmail
   accounts in 2016 at the request of ISIL members, the defendant specifically told them that those Gmail
27 accounts could be used to engage in activity on YouTube. Gov. Sentencing Memorandum. Docket No.
   90 at pg. 39, line 22 (where “Barud,” the defendant, passes several Gmail usernames and passwords to
28 “Abu Muharib Iraqi” and says “We can use them for YouTube.”)
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 1 gloating over Foley’s death, and calling it retribution for the U.S. air strikes. Id. By the next day, ISIL

 2 was making headlines across the world.

 3          A few weeks later, on approximately September 2, 2014, ISIL distributed a second video,

 4 entitled “Second Message to America.” In this second video, an ISIL fighter made good on the previous

 5 threat against Sotloff, beheading him while explaining, “I’m back, Obama, and I’m back because of

 6 your arrogant foreign policy toward the Islamic State… you, Obama, have yet again, through your

 7 actions, killed yet another American citizen.”8 The ISIL fighter then threatened to kill yet another

 8 hostage, this time a British aid worker, David Haines. See “Steven Sotloff: ISIS Video Claims to Show

 9 Beheading of US Journalist,” by Paul Lewis, Spencer Ackerman, and Ian Cobain, The Guardian,
10 September 3, 2014, available at https://www.theguardian.com/world/2014/ sep/02/isis-video-steven-

11 sotloff-beheading (last accessed February 2, 2019). The “Second Message to America” video was again

12 distributed via social media networks, and ISIL claimed responsibility for it on Twitter. Haines too

13 would later be executed, in retaliation for the British government’s support for U.S. air strikes, with a

14 video of the murder posted on social media and distributed through Twitter, among other networks.

15 This string of gruesome killings retaliating against the United States and its allies, and ISIL’s savvy use

16 of social media, including Twitter, YouTube, and other U.S.-based social media networks to broadcast

17 those beheadings, brought ISIL as an organization to the forefront of the global war on terrorism.

18 Indeed, ISIL became well-known worldwide for its skills in using social media networks to achieve its

19 goals of radicalizing and recruiting fighters.9 This is the group for whom the defendant would later

20
           8
             Dabiq, an online magazine published by ISIL in a number of languages, discussed the Sotloff
21 beheading:

22         [American hostage Steven Sotloff’s] killing was the consequence of US arrogance and
   transgression which all US citizens are responsible for as they are represented by the government they
23 have elected, approved of, and supported, through votes, polls, and taxes.”
           Available at http://www.ieproject.org/projects/dabiq4.html. (Last accessed February 5, 2019).
24         9
             For example, in August of 2016, just before the defendant here started opening social media
25 accounts  for his associates in ISIL, the U.K. Home Affairs Committee issued a report concluding that
   “[n]etworks like Facebook, Twitter and YouTube are the vehicle of choice in spreading propaganda and
26 they have become the recruiting platforms for terrorism.” U.K. House of Commons, Home Affairs
   Committee Report, “Radicalisation: The Counter-Narrative And Identifying The Tipping Point,”
27 available at https://publications.parliament.uk/pa/cm201617/cmselect/cmhaff/135/135.pdf (last accessed
   February 2, 2019).
28         In addition, numerous scholarly articles have been written analyzing ISIL’s exploitation of social
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 1 knowingly, willingly, and gladly helped open social media accounts. Clearly, anyone assisting ISIL’s

 2 social media operation could not have done so for any benign, altruistic purpose, without calculating that

 3 such assistance would help ISIL retaliate against the many governments fighting it.

 4          Indeed, the retaliatory element of the defendant’s social media activities is plainly apparent from

 5 discussions in the chat rooms on encrypted messaging applications in which the defendant participated.

 6 For example, as the government described in its initial sentencing memorandum, in one chat room,

 7 identified on the defendant’s telephone as Session 56, on November 11, 2016, a user identifying himself

 8 as “Hijrah10 Commando” posted the following:

 9          11/11/2016 12:08:41 AM (UTC+O), (Hijrah Commando) 228315951

10                  The bleeding wound a letter from one of the brothers:

11                  A letter from one of the brothers:

12                  To the owners of the invasion channels, we want Tweets in English on
                    American hashtags that are against or pro-Trump. It appears that the
13                  situation among the Americans is worsening

14                  We want racist Tweets against or pro-Trump.

15                  Let us kindle strife and chaos in their country. Perhaps that will be a reason
                    for them to withdraw their armies from our dear country or become too
16                  preoccupied to be concerned about us. Strengthen your determination,
                    deliver it to the brothers.
17

18 As the government argued in its initial sentencing memorandum, the main thrust of this post was to

19 “intimidate or coerce” by “kindl[ing] strife and chaos” in the United States. However, there was clearly

20 a retaliatory element as well: to take revenge on the United States for having its “armies” in “our dear

21 country.” Just a few days after this post, the defendant agreed to open up Twitter accounts for Abu

22 Muharrib Iraqi, a person whom he believed to be, and who in fact was, an actual ISIL member. Gov’t.

23

24
   media, and Twitter in particular. See, e.g., The ISIS Twitter Census, by J.M. Berger and Jonathon
25 Morgan, Center for Middle East Policy at the Brookings Institution, March 2015, available at
   https://www.brookings.edu/wp-content/uploads/2016/06/isis_twitter_census_berger_morgan.pdf (last
26 accessed February 3, 2019).
27          10
            Hijrah is an Arabic word normally used to refer to migration, but which is also used by ISIL
28 supporters to refer to traveling to the Middle East to engage in jihad .
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 1 Sentencing Memorandum, Docket No. 90, at pg. 54. In other words, the act of opening Twitter accounts

 2 for Abu Muharrib Iraqi was very much an offense calculated not only to “intimidate or coerce,” but to

 3 retaliate against the United States’ “armies” for fighting against ISIL.

 4          In fact, although under Awan the government need not show that the defendant was motivated by

 5 retaliation against government conduct, the defendant’s own words show that such retaliation was very

 6 much on his mind. As the government argued in its initial sentencing memorandum, the defendant

 7 resorted to aiding ISIL in the virtual world only after his initial efforts to aid ISIL in the real world were

 8 thwarted by a quick-thinking FBI undercover agent and an online confidential human source (CHS). In

 9 conversations in which the defendant described the attacks he wanted to carry out in the San Francisco
10 Bay Area, the defendant commented that

11                  You know how Saudi has a lot of our scholars locked up… what we could
                    do is threaten Saudi in exchange for American [UI]… Like every day passes
12                  by with you guys releasing our brothers a bomb is going to blow up… with
                    you guys not* releasing
13

14 In other words, the defendant was contemplating carrying out attacks against Americans in San

15 Francisco, in retaliation for the Saudi Arabian government’s imprisonment of ISIL “scholars.”11 Thus,

16 the words of the defendant himself abundantly demonstrate that aiding ISIL was, for him, an act

17 calculated to retaliate against government conduct. See, e.g., United States v. Van Haften, 881 F.3d 543,

18 545 (7th Cir. 2018)(concluding that defendant’s statements on social media were sufficient to prove that

19 defendant’s attempted travel to Syria was calculated to retaliate against government conduct).

20

21      2. The Category VI Criminal History Calculation Is Appropriate, and The Only Departure
           Contemplated by the Guideline Regarding That Calculation Is An Upward One
22

23          During the December 17 hearing, this Court asked the government to provide “any insight… on

24 why it’s Level VI automatic, and how does that fit with the framework of what a criminal history

25

26          11
             There is no requirement that the government against whom a defendant is seeking to retaliate
27 must be the United States. See, e.g. United States v. Muhtorov, 329 F.Supp.3d 1289, 1298 (D. Colo.
   2018)(citing Awan and concluding that defendant qualified for terrorism enhancement because his
28 conduct was calculated to influence, affect, and retaliate against Uzbek government).
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 1 category is supposed to do and whether it can be the basis of a departure. That would be an interesting

 2 subject to address.” Transcript, Dec. 17, 2018, pg. 199 at lines 3-8.

 3          The Second Circuit has directly addressed the issues raised by the Court, in United States v.

 4 Meskini, 319 F.3d 88 (2nd Cir.), cert. denied, 538 U.S. 1068 (2003). There, the defendant, Mokhtar

 5 Haouri, a secondary figure in the so-called millennium plot to plant a bomb at Los Angeles International

 6 Airport during the 2000 New Year celebrations, provided money and false documents to the main figure

 7 in the plot, Ahmed Ressam. Haouri also arranged for an escape route from the United States to Algeria,

 8 then Pakistan and Afghanistan. Haouri was convicted at trial of conspiracy to provide material support

 9 to a terrorist act, among other things. The district court applied the sentencing enhancement, including
10 the increased criminal history category, and sentenced the defendant to 288 months in prison. Meskini,

11 319 F.3d at 90-91.

12          On appeal, the defendant argued that U.S.S.G. § 3A1.4 violated his due process rights by double-

13 counting the same criminal act, once by increasing the offense level to 12, and a second time by

14 increasing his criminal history category to VI. Id.     The Second Circuit squarely rejected this argument.

15                  Congress and the Sentencing Commission had a rational basis for
                    concluding that an act of terrorism represents a particularly grave threat
16                  because of the dangerousness of the crime and the difficulty of deterring
                    and rehabilitating the criminal, and thus that terrorists and their supporters
17                  should be incapacitated for a longer period of time. Thus, the terrorism
                    guideline legitimately considers a single act of terrorism for both the offense
18                  level and the criminal history category.

19 Id. at 92. The Second Circuit also rejected the defendant’s argument that automatically increasing the

20 criminal history category to Level VI would potentially imprison a first-time offender with no prior

21 criminal behavior to the same sentence as that of a lifelong terrorist with a lengthy criminal history:

22                  Congress and the Sentencing Commission had a rational basis for creating
                    a uniform criminal history category for all terrorists under § 3A1.4(b),
23                  because even terrorists with no prior criminal behavior are unique among
                    criminals in the likelihood of recidivism, the difficulty of rehabilitation,
24                  and the need for incapacitation.

25 Id. Thus, Meskini is particularly applicable to the instant case, where the defendant has no prior criminal

26 record.12
27
        12
           In addition, as even the defendant’s expert witness Dr. Marc Sageman conceded during the
28 December 17 hearing, some of the most notorious ISIL-related attacks in the United States have been
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 1          The only departure contemplated by the terrorism enhancement is an upward departure, in cases

 2 where conduct may not fall strictly within the definition of a “federal crime of terrorism,” but which

 3 may nevertheless merit a significant sentence, if, for example, the crime was calculated to intimidate a

 4 civilian population, rather than government. U.S.S.G. § 3A1.4 at Application Note 4. As for downward

 5 departures used to negate the Sentencing Commission’s automatic criminal history category increase in

 6 terrorism cases, the Second Circuit cautioned that such departures should be used only in exceptional

 7 cases:

 8                  A judge determining that § 3A1.4(b) over-represents ‘the seriousness of
                    the defendant’s past criminal conduct or the likelihood that the defendant
 9                  will commit other crimes’ always has the discretion under § 4A1.3 to
                    depart downward in sentencing. U.S.S.G. § 4A1.3. Considering the
10                  serious dangers posed by all forms of terrorism, the Guidelines are in no
                    way irrational in setting the default for criminal history at a very high
11                  level, with downward departures permitted in exceptional cases.

12 Id.(emphasis added). The Second Circuit ultimately concluded that the defendant in Meskini did not

13 present such an exceptional case, because he had an extensive history of crime, despite apparently

14 having no previous convictions in the United States. Here too, the defendant in the instant case may not

15 have any previous convictions, but he was plainly involved in a wide range of identity theft, and also

16 most likely involved in some degree of drug trafficking as well. See, e.g., Gov’t Sentencing

17 Memorandum, Docket No. 90, at pg. 27, noting that defendant appeared to be engaging in some kind of

18 drug deal in Ukiah, California. In short, he is far from the kind of “exceptional case” contemplated by

19 the Second Circuit in Meskini that might warrant a departure for an over-represented criminal history.

20          The Ninth Circuit has not squarely addressed the issue of the criminal history increase involved

21 in the terrorism enhancement. However, in United States v. Ressam, 679 F.3d 1069 (9th Cir. 2012) the

22 Court found a district court’s 22-year sentence was substantively unreasonable for Haouri’s co-

23 conspirator Ahmed Ressam, the primary figure in the LAX millennium bombing plot. Though the issue

24 of the automatic criminal history increase was apparently not before the Court, in vacating the district

25 court’s sentence, the Court suggested that it shared the Second Circuit’s concerns regarding the

26 difficulty in rehabilitating terrorists. “Terrorists, even those with no prior criminal behavior, are unique
27

28 carried out by individuals with no criminal history. Transcript, Dec. 17, 2018, at pg. 172.
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 1 among criminals in the likelihood of recidivism, the difficulty of rehabilitation, and the need for

 2 incapacitation.” Ressam, 679 F.3d 1069 at 1091, quoting United States v. Jayyousi, 657 F.3d 1085,

 3 1117 (11th Cir. 2011), quoting Meskini, 319 F.3d at 92. There is no reason for the defendant here to be

 4 treated any differently than the defendants in Meskini and Ressam.

 5      3. Similar Cases

 6          This Court asked during the December 17 hearing whether there were any cases involving

 7 similar fact patterns, particularly relating to defendants providing access to social media accounts to

 8 known terrorists, whether the terrorism enhancement was applied in those cases, and what sentences

 9 were imposed. The short answer is that the instant case is unique, for several reasons. First, the
10 technology used by the defendant to provide support to ISIL is relatively new, as is the particular

11 encrypted messaging application at issue in this case that was favored by the defendant and by ISIL for

12 communication purposes. Moreover, social media companies have only recently begun policing their

13 networks and shutting down account promoting terrorism, so the phenomenon of needing to create

14 multiple social media accounts is a relatively new one. Thus, there simply has not been much

15 opportunity for these technologies to be the subject of prosecutions, much less published case opinions.

16 Second, this case involves particularly unique, egregious antecedent conduct that occurred before the

17 defendant opened any social media accounts on behalf of ISIS (i.e. the defendant’s plots to conduct

18 terrorist attacks around the San Francisco Bay Area) and particularly egregious post-arrest conduct, (i.e.

19 the defendant’s plot to explode a bomb at this courthouse). Thus, even if there were other cases

20 involving defendants who opened up social media accounts for known members of ISIL, those cases

21 would be distinguishable.

22          That said, the government appreciates that the Court may be looking for guideposts upon which

23 to fashion a sentence in this case. With that in mind, after consulting with the Department of Justice’s

24 National Security Division, the government offers the following cases which may be of some relevance

25 and assistance to the Court.

26      a. United States v. Mohammed Elshinawy (District of Maryland, 16-CR-009-ELH)

27          Mohammed Elshinawy was a 32-year old U.S. citizen who resided in Maryland. He accepted

28
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 1 approximately $8,700 from individuals in ISIL to help finance a purported attack in the United States

 2 which never took place (much in the same way that the defendant here accepted a bomb-making manual

 3 from ISIL to help carry out a purported attack in the United States which never took place) . United

 4 States v. Elshinawy, 2018 WL 1521876 at *11 (D.Md. 2018). There was some limited evidence that

 5 Elshinway had done online research about potential attack targets in the Baltimore area online, which is

 6 similar, though not as extensive, as the defendant here, who went so far as to take pictures of potential

 7 targets, apparently at the request of ISIL members. As in the instant case, Elshinawy’s use of social

 8 media was “extensive and revealing.” Id. Among other things, Elshinawy used the very same

 9 encrypted messaging application relied on by the defendant here to communicate with ISIL members.
10 Id. at *13. As in the instant case, in Elshinawy Dr. Marc Sageman opined on behalf of the defendant,

11 in testimony remarkably similar to his testimony in the instant case, that while the defendant may have

12 at one point posed a dangerous threat of conducting an attack in the United States, he had given up those

13 plans by the time he was arrested. Id. at *19. And, like the defendant here, who claims that he was just

14 “trolling” ISIL members online, Elshinawy claimed that he took money from ISIL members just to

15 “scam” them. Id. at *18. In other words, the fact pattern in Elshinawy, though not identical, is

16 analogous in many ways. After a lengthy analysis, the district court applied the terrorism enhancement.

17 Elshinawy was sentenced to 20 years.

18      b. United States v. Mehanna (District of Massachusetts, 09-CR-10017-GAO)

19      Like the defendant here, Tarek Mehanna was convicted, among other things, of conspiring to

20 providing material support to al-Qaeda in violation of § 2339B. Mehanna was a 21 year old American

21 citizen living in Massachusetts who flew to Yemen in search of a terrorist training camp, but returned to

22 the United States after he learned that there were no longer any such camps in Yemen. United States v.

23 Mehanna, 735 F.3d 32 at 43-45 (1st Cir. 2013). This is similar to the defendant here, who sought out

24 training in explosives from someone whom he believed was an al-Qaeda-trained bombmaker, but then

25 spurned that bombmaker upon suspecting (correctly) that the bombmaker was in fact an undercover FBI

26 agent. Mehanna, upon returning to the United States, set his sights on another manner of providing
27 material support to al- Qaeda – that is, recruitment of others to fight for al-Qaeda and kill American

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 1 soldiers by translating propaganda materials and posting them on the internet. This conduct is similar to

 2 the defendant here, who resorted to aiding ISIL online with social media accounts, after his efforts to

 3 learn how to make bombs failed. Id. at 41. Much like the defendant in Mehanna, who translated and

 4 edited material on behalf of al-Qaeda members, there is no dispute here that the defendant opened social

 5 media accounts specifically at the behest of individuals whom he believed, and who in fact were,

 6 members of ISIL. Government’s Sentencing Memorandum, United States v. Mehanna, 09-CR-10018-

 7 GAO, Docket No. 430 (Filed April 10, 2012). The district court in Mehanna applied the terrorism

 8 enhancement. Mehanna was sentenced to 17 years and 6 months in prison.

 9      c. United States v. Nicholas Young (Eastern District of Virginia, 16-CR-00265-LMB)

10          Nicholas Young was a police officer in Washington, D.C., who provided gift cards to an

11 individual whom he believed was in ISIL, but who in fact was an FBI confidential human source (CHS).

12 See generally Position of the United States with Respect to Sentencing Factors, Docket No. 220, United

13 States v. Young, 16-CR-00265-LMB (E.D.Va.)(filed February 16, 2018). The gift cards that Young

14 provided to the CHS totaled the unimpressive figure of $245, much as the defendant here has argued the

15 act of opening a handful of social media accounts was relatively insignificant. Id. at. pgs. 12-13. Young

16 was charged with providing material support to ISIL, and with three counts of obstruction of justice,

17 based on lies that Young told the FBI about his interactions with the FBI CHS. Id. Young boasted of

18 using his access and knowledge as a police officer to ISIL’s advantage, which is similar in some respects

19 to the defendant’s attempts here to join the Oakland Police Department. Id. at pg. 14-15. Unlike the

20 defendant here, though, Young apparently had no actual contact with anyone in ISIL, only with an FBI

21 CHS. The sentencing memoranda filed by both parties indicate that the Court applied the terrorism

22 enhancement to Young, and that his guideline range was 360 months to 720 months. See, e.g.,

23 Sentencing Memorandum of Nicholas Young, Docket No. 219, United States v. Young, 16-CR-00265-

24 LMB (filed February 16, 2018). Young was sentenced to 15 years on all counts, to be served

25 concurrently.

26      d. United States v. Jalil Ibn Ameer Aziz (Middle District of Pennsylvania, 15-CR-309)

27          Jalil Ibn Ameer Aziz was a 19 year-old U.S. citizen residing with his parents in Harrisburg,

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 1 Pennsylvania. According to the government’s sentencing memorandum, Aziz used a variety of Twitter

 2 accounts to post thousands of tweets, retweets, and photographs depicting ISIL’s violent acts.

 3 Government’s Sentencing Memorandum, Docket No. 137, at pg. 6, United States v. Aziz, 15-CR-309

 4 (M.D.Pa.)(filed October 11, 2017). He also communicated directly with at least two ISIS recruiters. Id.

 5 He also reposted a list that ISIL had distributed, which contained the names and home addresses of

 6 United States service members. Id. at pg. 8. Aziz pled guilty pursuant to a plea agreement to one count

 7 of providing material support to ISIS, in violation of 18 U.S.C. § 2339B and one count of transmitting a

 8 communication containing a threat to injure, in violation of 18 U.S.C. §§ 875(c) and 2. Unlike the

 9 defendant here, Aziz never opened social media accounts for actual ISIL members, though. In addition,
10 unlike the defendant here, Aziz did not engage in any plots to carry out actual terrorist attacks in the

11 United States. Moreover, Aziz apparently began his flirtation with ISIL on Twitter while he was a

12 juvenile, at least according to Aziz’s sentencing memorandum. Defendant’s Sentencing Memorandum,

13 Docket No. 135, United States v. Aziz, 15-CR-309 (M.D.Pa.)(filed September 25, 2017). Finally, unlike

14 the defendant here, Aziz pled guilty pursuant to a negotiated plea agreement; as part of that plea

15 agreement the government dismissed charges against him. The parties agreed in that plea agreement that

16 the terrorism enhancement applied. Plea Agreement, Docket No. 105, pg. 8, United States v. Aziz, 15-

17 CR-309 (M.D.Pa.)(filed January 27, 2017). Aziz was sentenced to 8 years and 4 months on the material

18 support charge, and 6 years on the threat charge, to be served consecutively for a total sentence of 13

19 years and 4 months.

20          e.      United States v. Mohamud (D. Oregon, 10-CR-00475-KI)

21          Mohamud was a U.S. citizen who plotted to explode a bomb at a Christmas tree-lighting

22 ceremony in Portland with individuals whom he thought were al-Qaeda-trained bombmakers, but in fact

23 were FBI undercover agents. United States v. Mohamud, 843 F.3d 420 (9th Cir. 2016). Mohamud was

24 ultimately charged under a different statute than the defendant here – 18 U.S.C. § 2332a, attempted use

25 of a weapon of mass destruction. Nonetheless, there are a number of similarities between the

26 defendant’s bomb plot here and the one at issue in Mohamud. For example, in both cases the targets
27 were selected by the defendants: Mohamud selected a crowded area of Portland, Pioneer Courthouse

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 1 Square during a Christmas tree lighting ceremony, while the defendant here selected a slew of crowded

 2 targets, including a gay nightclub in San Francisco and parts of the University of California Berkeley

 3 campus. Id. at 427. Both Mohamud and the defendant here were obsessed with learning how to make

 4 bombs that would cause the most casualties possible. Id. at 427-429. Mohamud rented a storage locker

 5 at the instruction of undercover agents to store attack-related supplies; in the instant case, the defendant

 6 visited a storage locker rented by the FBI to inspect bombmaking materials stored within. Id.

 7 Mohamud, of course, went as far as he could with his plot, exploding a test device with agents and

 8 attempting to explode a device in Pioneer Square that he thought was real, but in fact had been rendered

 9 inert by FBI agents. In the instant case, the government maintains that the defendant would have
10 reached that same point, had the undercover agent here not risked compromising his identity one night,

11 trying to dissuade the defendant from engaging in a random act. See Government’s Sentencing

12 Memorandum, Docket No. 90, at pgs. 28-33. Moreover, in the instant case, the defendant had been in

13 contact with actual members of ISIL, had obtained bomb-making manuals from them, and had written a

14 suicide note for them, claiming responsibility for his attacks on behalf of ISIL. In contrast, in Mohamud

15 the defendant there wrote a script and recorded a video explaining his attacks at the behest of undercover

16 agents, not actual ISIL members. Mohamud, 843 F.3d at 428. In short, while there are obviously some

17 differences between Mohamud and the instant case, there are enough troubling similarities and parallels

18 that Mohamud nonetheless serves as a useful guidepost for sentencing purposes. The district court in

19 Mohamud applied the terrorism enhancement. Transcript of Sentencing Proceedings, Docket No. 529 at

20 pg. 52, United States v. Mohamud, 10-CR-00475-HZ, filed December 8, 2014 (D. Oregon). Mohamud

21 was sentenced to 30 years in prison.

22      4. The Court Should Disregard the Report And Testimony of Dr. Marc Sageman As
           Inherently Untrustworthy
23

24          Lastly, the government asks the Court to disregard the report and testimony of Dr. Marc

25 Sageman. Dr. Sageman testified that in his opinion, the defendant – who spoke of blowing up gay

26 nightclubs in San Francisco, tying up his friends and murdering them, and planting backpack bombs on
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 1 routes used by first responders - was less dangerous than a randomly-picked American.13 Dr. Sageman

 2 was able to reach this outlandish conclusion by writing a report that cherry-picked helpful facts, entirely

 3 omitted harmful ones, and downplayed, mischaracterized and minimized the nature of the defendant’s

 4 conduct. As just one example of the many faults with Dr. Sageman’s report, he opined that the

 5 defendant was not likely to ever engage in terrorism because, among other things, he was trying to turn a

 6 corner in life and wanted to seek employment as a locksmith. Transcript, Dec. 17. 2018, at pg. 162. Yet

 7 Dr. Sageman failed to mention in his report that the defendant had been using his contacts in the

 8 locksmith industry to steal identities and engage in identity theft. Id.   Similarly, Dr. Sageman wrote his

 9 report in such a manner to mislead its reader into thinking the undercover agent suggested to the
10 defendant the idea of exploding a bomb capable of bringing down a concrete building, when in fact the

11 evidence is clear is that it was the defendant who first brought up the topic – the undercover agent was

12 merely playing along, doing his job as an undercover. Id. at pg. 152.

13          To illustrate how unreliable Dr. Sageman’s report is, consider for a moment if the tables were

14 turned. That is, suppose the government submitted Dr. Sageman’s report as part of a search warrant

15 affidavit to establish probable cause that the defendant was not involved in terrorism, say as part of an

16 investigation to prove that some other individual was actually responsible for all of the defendant’s

17 actions. Surely a reviewing court would be offended if a law enforcement officer represented in an

18 affidavit that a particular person was unlikely to engage in terrorism, while neglecting to mention that

19 that person had a recent copy of ISIL’s propaganda magazine Dabiq on his electronic devices, replete

20 with images of beheaded bodies and child soldiers. Transcript, Dec. 17, 2018, at pg. 190-91. That is the

21 kind of material omission that successful Franks suppression motions are made of.

22          Equally troubling to the government is the manner in which Dr. Sageman presented himself as a

23 kind of roving expert on various topics. For example, Dr. Sageman opined, among other things, about

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25          13
             This is not the first time Dr. Sageman has reached this type of conclusion. In another case,
26 involving an individual who attempted to travel to Syria through Turkey to join ISIL, Dr. Sageman
   wrote a report on behalf of the defendant in which he concluded the defendant was “at no greater risk
27 than the normal population of being a danger to the public.” United States v. Tounisi, 2018 WL
   3983387 at *2 (N.D.Ill. 2018). The defendant was sentenced to 180 months, the statutory maximum. Id.
28 at *3.
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 1 the meaning of emojis and their use on social media, despite admitting that he was an internet

 2 “troglodyte” who had never been on Facebook, Twitter, or Telegram. Dec. 17 Transcript at pg 168. He

 3 also opined on the significance and meaning of “trolling” on the internet, despite admitting that he had

 4 never even heard of the term until 2016, and even then only as a result of his general interest as a citizen

 5 in Russian interference with the U.S. general election, not because of anything related to jihadist

 6 terrorism. Id. at 168-69. He also opined that he thought the bombmaking manuals the defendant

 7 obtained from ISIL were not very effective, without ever explaining why or how he is an expert in

 8 explosives. Id. at 125. Indeed, at one time Dr. Sageman has even suggested he is an expert on being an

 9 expert. See “How to Find, Select, and Evaluate a Mental Health Professional for Trial,” by Marc
10 Sageman, M.D., Ph.D, in The Practical Litigator, Vol. 9, pg. 27 (1998). In another recent trial, Dr.

11 Sageman described himself as being the “brain trust” of the United States Secret Service. See

12 Testimony of Dr. Marc Sageman, United States v. Adam Shafi, September 5, 2018, 15-CR-582-WHO at

13 Vol. 6, pg. 766 (N.D.Cal.). By the end of the December 17 hearing, the Court had clearly picked up on

14 the seemingly endless bounds of Dr. Sageman’s “expertise”:

15
            Court: Well, let me ask you this: You don't hold yourself out -- or maybe you do -- as an
16                 expert in what one would say the general population -- in terms of what percentage
                   of the general population has criminal records for violence? I mean, do you know
17                 the statistics? Have you seen the statistics?

18 Dec. 17 Transcript at pg. 186 (emphasis added). Perhaps not surprisingly, Dr. Sageman had an opinion

19 about the statistics.

20          Most troublingly, though, Dr. Sageman repeatedly mischaracterized and downplayed the

21 defendant’s interactions with the FBI undercover agent in this case. The Court flatly rejected Dr.

22 Sageman’s description of these interactions. When Dr. Sageman insisted, for example, that it was the

23 undercover who planted ideas about conducting attacks inside the defendant’s head, the court

24 interjected:

25          I don't have the same impression that you have. Looking at car bombs, looking at
            the poisoning, looking at the fires, and looking at the backpack bombs, all four
26          discrete and very serious criminal activities if pursued, those four ideas came from
            the defendant as I read it. It wasn't, like, the agent put that in the defendant's mind.
27          It was the defendant who suggests it.

28          I mean, this is almost like a reverse sting. It is almost like the people who are being
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 1          stinged or stung actually is the Government because it is the defendant who,
            unbeknownst to the Government, according to what you find, didn't have the
 2          intention of carrying things through; but from the Government's point of view, they
            saw this as a very dangerous threat and it emanated from the defendant, not the
 3          Government. So, I mean, I think we have to be somewhat precise here because --
            and it may not change your conclusion, it may not change your conclusion, but I
 4          think the facts are as I read them, the facts are that these proposed activities or
            contemplated activities, notwithstanding the fact that the defendant would never go
 5          through with them, were emanated from the defendant and not from the
            Government; and I think that that is, to me, an important distinction.
 6
            The Court is correct – it is an important distinction, and one that Dr. Sageman is incapable of
 7
     recognizing. His bias against and utter disdain for FBI undercover operations permeates through and
 8
     poisons every conclusion he offered in this case. See, e.g. December 17 Transcript at pg. 117-118.14 This
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     Court should reject his report and his testimony in their entirety.
10

11
     DATED:                                                        Respectfully submitted,
12
                                                                   DAVID L. ANDERSON
13                                                                 United States Attorney
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15                                                                         /s/                  _
                                                                   S. WAQAR HASIB
16                                                                 Assistant United States Attorney

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                Sageman testified, “I must confess that personally I don’t like sting operations. They’re
     completely outlawed in any other Western countries except the United States. And you know, when I
23   talk to my European colleagues, they always tease me about it. They say, “you guys don’t really have,
     you know, that much terrorism compared to us. What you have is sting operation. You cannot basically
24   arrest the low-hanging fruit. The dumb people get entrapped… [T]he UCE [in the instant case] was very
     directive and he was very forceful with this guy. He said, “you can’t do that. You can’t do that. You
25   can’t do that. If you are with me, you can’t talk to anybody else. You see, this is not a person gathering
     information. This is a person who is very active in trying to encourage a criminal act.”
26
     The Court responded entirely appropriately: “I’m not going to sit here in judgment on the propriety of
27   the Government operating a sting operation with respect to terrorism… and by the way, isn’t a guarantee
     of the fairness of the sting operation to make sure that the interactions are recorded so that we don’t have
28   the word of the agent or informant, we have the actual words that were used in connection with it.”
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